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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

 BA YER INTELLECTUAL PROPERTY                    )
 GMBH, BAYER ANIMAL HEALTH                       )
 GMBH, and BA YER HEALTHCARE LLC,                )
                                                 )
                        Plaintiffs,              )
                                                 )
            v.                                   )     C.A. No. 17-591 (RGA)
                                                 )
 CAP IM SUPPLY, INC.,                            )
                                                 )
                        Defendant.               )
                                                 )

                  STIPULATION AND [ffi(\)'~ ORDER STAYING CASE


            IT IS HEREBY STIPULATED AND AGREED by the parties, subject to the approval of

 the Court, that all deadlines are stayed through and including August 10, 2018 to provide the

 parties time in which to finalize settlement.

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 July 26, 2018
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                 SO ORDERED this   1..1   day of July, 2018.




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